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 4
                            IN THE UNITED STATES DISTRICT COURT
 5                        FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 6

 7   UNITED STATES OF AMERICA,                                              CR09-5466RJB

 8           Plaintiff,
     v.
 9                                                       ORDER DENYING MOTION FOR
     MARK RANDALL,                                       JUDGMENT OF ACQUITTAL
10

11
             Defendant.

12

13           This matter comes before the court on defendant's Motion for Judgment of Acquittal

14   (Dkt. 125). The court has considered the motion, the government's opposition thereto (Dkt.

15   126), the events of the trial and the contents of the file.

16           The evidence adduced at trial was sufficient. Considering that evidence now in the light

17   most favorable to the plaintiff, the court finds that the evidence and reasonable inferences that

18   may be drawn from that evidence, is of a quality and quantity sufficient to support the

19   convictions returned by the jury's verdict herein. Accordingly, it is now

20           ORDERED that defendant's Motion for Judgment of Acquittal (Dkt. 125) is DENIED.

21           The Clerk is directed to send uncertified copies of this Order to all counsel of record

22   and to any party appearing pro se at said party=s last known address
23           Dated this 3rd day of May, 2010.
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                                             A
                                             ROBERT J. BRYAN
26                                           United States District Judge

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